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                                                                                               UNITED STATES DISTRICT COURT
                                                          8
                                                                                             CENTRAL DISTRICT OF CALIFORNIA
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                                                         10    STEPHANIE ESCOBAR and                            Case No. 2:21-cv-03987-PA-MRW
                                                               ANNEMARIE NEWBOLD,
                                                         11    individually and on behalf of all others         CLASS ACTION
                          9255 Sunset Blvd., Suite 804




                                                               similarly situated,
CLARKSON LAW FIRM, P.C.

                            Los Angeles, CA 90069




                                                         12
                                                                                         Plaintiffs,            Hon. Percy Anderson
                                                         13
                                                                       vs.                                      PLAINTIFF’S NOTICE OF
                                                         14                                                     VOLUNTARY DISMISSAL
                                                               SNAPPLE BEVERAGE CORP. and                       WITHOUT PREJUDICE
                                                         15    KEURIG DR. PEPPER INC.,                          PURSUANT TO FEDERAL RULE
                                                                                                                OF CIVIL PROCEDURE
                                                         16    Defendants.                                      41(a)(1)(A)(i)
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                                                                                                                Complaint Filed: May 12, 2021
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                                                               PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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                                                          1             PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure
                                                          2    41, Plaintiffs Stephanie Escobar and Annemarie Newbold, individually and on
                                                          3    behalf of all others similarly situated (“Plaintiff”), by and through their counsel
                                                          4    Ryan J. Clarkson and Yana Hart of Clarkson Law Firm, P.C., hereby voluntarily
                                                          5    dismisses this action without prejudice. Fed. R. Civ. P. 41(a)(1)(A)(i).
                                                          6

                                                          7
                                                                Dated: May 20, 2021                           CLARKSON LAW FIRM, P.C.
                                                          8

                                                          9                                                   /s/ Yana Hart
                                                                                                              Ryan J. Clarkson, Esq.
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